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EXHIBIT Q
Case 1:18-cv-00423-LO-IDD Document 160-17 Filed 05/17/19 Page 2 of 4 PagelD# 5561

Message

From: Virginia Thomas HE® |ibertyinc.co]

Sent: 10/20/2016 5:46:27 PM

To: Mike Thompson §RRRM@ CRCPublicRelations.com]

cc: John Adams (OT06) {© mcguirewoods.com]; J. Christian Adams ll @electionlawcenter.com]; Steve Albertson

BEE © zmail.com]; Demos Chrissos (© © 2 pidresponsemedia.com]; George Rasley

EEE © gmail.com); Connie Hair MRE gmail.com]; Randy Randol ME comcast.net];
Cathy Trauernicht MM @verizon.net]; Rick Manning getliberty.org]; Stephanie Coleman
MME @ austin.rr.com]; Ken Klukowski ee

Subject: Re: VA Voter Fraud...

An outside group could, though, target precincts most questionable, right?
Middle Resolution?

Sent from Ginni's iPhone, a by-product of entrepreneurial free market capitalism. Competition, hard work,
innovations and lack of government interference makes great things possible!

a WE @ libertyinc.co

On Oct 20, 2016, at 12:38 PM, Mike Thompson J@CRCPublicRelations.com> wrote:

The only operation in place in Virginia that could even consider trying to get something up at each polling pace would be
the Republican Party. No one else even comes close to putting people at each polling place.

From: Virginia Thomas [mailto ie libertyinc.co]
Sent: Thursday, October 20, 2016 12:33 PM
To: John Adams (OTO6) <i@ mcguirewoods.com>; J. Christian Adams § @electiontawcenter.com>; Steve

Albertson mail.com>; Demos Chrissos <{MB@ rapidresponsemedia.com>; George Rasley
mail.com>; Connie Hair mail.com>; Randy Rando | comcast.net>; Cathy
Trauernicht q¥ggg@ verizon.net>; Rick Manning 4 etliberty.org>; Stephanie Coleman

HB @ austin.rr.com>; Mike Thompson jg @ CRCPublicRelations.com>; Ken Klukowski

mail.com>
Subject: Fwd: VA Voter Fraud...

Randy's question (based on what he found reading Christian's Superb report) yesterday to me was very
practical, and may be an Awesome idea!!

Could signs be made and placed at as many polling places in VA, listing the laws people may break if they do
voter fraud??? We just need to print and distribute signs, and make it a digital ad too!!

Good idea? Who? How?
Thx!

Sent from Ginni's iPhone, a by-product of entrepreneurial free market capitalism. Competition, hard work,

Begin forwarded message:

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From: Randy Randol Comcast IIMMMIM 2 comcast net>

Date: October 20, 2016 at 11:40: To

To: "Ginni Thomas(LibertyInc DlyCIr)" @libertyinc.co>
Subject: VA Voter Fraud...

Here's what I mentioned.
https://publicinterestlegal org/files/Report_Alien-Invasion-in- Virginia. pdf

When an alien completes a voter registration form, they commit a felony.

This report must begin with the relevant law. It is only with that in mind that the reader can comprehend the
gravity of the problem Virginia and other states are facing when it comes to non-citizen participation in our
elections. When non-citizens register or actually vote, they violate both state and federal statutes because
citizenship is a requirement to vote in both state and federal elections.

The offenses a fraudulent voter might commit when he registers and votes are numerous:

e Virginia Code § 24.2-1004: Criminalizes casting an illegal ballot.

. Title 18, United States Code § 611: Criminalizes voting by illegal aliens in federal elections.

e Title 18, United States Code § 911: Criminalizes representing oneself to be a citizen of the United
States.

. Title 18, United States Code § 1015: Criminalizes false statements in order to register to vote or to vote

in any Federal, State, or local election.

e Title 52, United States Code § 20511: Criminalizes the fraudulent submission of voter registration
applications and the fraudulent casting of ballots.

The United State Attorney General and the law enforcement officers in the Commonwealth of Virginia are,
respectively, authorized to prosecute violations of all of these statutes. Given that the integrity of an election is
where the consent of the governed is obtained, you would think that federal and state elections officials would
treat these crimes with appropriate seriousness. As will be discussed later in this report, that is, however, not the
case

PILF has filed four separate lawsuits in 2016 alone to force election officials to allow inspection of their
election records. In Virginia, election officials have opposed transparency and many Virginia counties are
not in compliance with federal law regarding our requests and may yet be sued in federal court to obtain
requested records.

Obstruction Begins in Alexandria

The effort to obscure the number of non-citizens who are registering and voting in Virginia began in the City of
Alexandria.

In January 2016, the election integrity group Virginia Voter’s Alliance (VVA) contacted Alexandria General
Registrar Anna Leider, notifying her that based on implausible registration data, her office appeared to be in
violation of the NVRA’s mandate that she use reasonable efforts to remove ineligible registrants. The letter
additionally requested access to ten categories of records concerning Ms. Leider’s list maintenance
programs pursuant to the NVRA’s public inspection provision.

In April 2016, PILF, on behalf of VVA and David Norcross, a private Alexandria citizen, sued Ms. Leider
under the NVRA’s private right of action, alleging that her office violated the NVRA by refusing to provide
inspection of election records and for failing to conduct reasonable list maintenance practices.

After a court hearing where Alexandria said it would make the requested records available, VVA then
proceeded to visit Ms. Leider’s office to inspect the city’s records.

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Among the records uncovered at Ms. Leider’s office was a list of registrants who had been purged from
the voter rolls because they were determined to not be U.S. citizens. The list includes hundreds of non-
citizen registrants, all of whom had likely committed felonies by registering to vote.

When VVA asked to photocopy the list, Ms. Leider refused, contradicting her statements made to the court.
Her refusal, however, was directed by state election officials. Ms. Leider’s attorney later stated that she
cannot provide the list because of “guidance” from the Virginia Department of Elections. The excuse was
that the reason for a registrant’s cancellation—including by reason of non-citizen status—is confidential, and
such information can neither be inspected nor duplicated.

A week later, and over eight months after the initial request was made, Ms. Leider finally capitulated. Her
attorney provided VVA with a list, identifying 70 registrants who had been removed from Alexandria’s
registration lists after they were determined to not be U.S. citizens. These were just the aliens who were
caught.

Records showing the removal of ineligible non-citizen registrants are quintessentially records “concerning the
implementation of programs and activities conducted for the purpose of ensuring the accuracy and currency of
official lists of eligible voters,”'4 records that must be made available for public inspection under the

NVRA. Yet it took months of negotiations and a federal lawsuit to bring these records to the public’s
attention.

What can be done?

There are several changes that states and the federal government can and should make to prevent non-citizens
from registering and voting illegally in state and federal elections:

. The registration process must be changed. The check-box honor system is a failure and is
facilitating voter fraud. All states should require anyone who registers to vote to provide documentary
proof of U.S. citizenship. In the alternative, states should fully utilize the federal SAVE database which
contains the names of aliens who have had contact with the immigration system.

. Congress and state legislatures should require all federal and state courts to notify local election
officials when individuals summoned for jury duty from voter registration rolls are excused because they
are not United States citizens.

° State legislatures or state elections officials should enact requirements that force local election
officials to conduct a systematic review of the voter history of all registrants who were purged from the rolls
due to not meeting the requirements of U.S. citizenship.

e The database, known as E-Verify, that is being used by U.S. employers to check the
citizenship status of prospective employees should be made available to election officials and
administrators of statewide registration databases so that election officials can easily identify registered
voters who are not U.S. citizens.

. Law enforcement at both the federal and state level should exercise their authority to prosecute
cases of voter fraud. Voter registration and voting history records such as those contained in this report makes
prosecution an easy task. Armed with that information, prosecutors would simply have to verify whether or not
the individual was a citizen at the time of registration or voting.

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